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                             UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                      AT MEMPHIS

UNITED STATES OF AMERICA
                                                                          No: 2:23cr20191 MSN
v.

DESMOND MILLS, JR.


                    AMENDED MOTION TO CONTINUE SENTENCING


        COMES NOW Defendant, Desmond Mills, Jr., by and through counsel, Blake D. Ballin,

and respectfully moves this court to continue his sentencing hearing and in support would show

as follows:

        That in addition to the reasons set forth in the previously filed motion to continue,

another one of the character witnesses for Mr. Mills is unavailable on June 17, 2025. This

witness is a law enforcement officer and will be at a law enforcement conference in Atlanta, GA,

on June 17, 2025.

        That because of the unavailability of another necessary character witness ,the defendant

respectfully requests a continuance of his sentencing hearing to the following week.

        That Counsel for the defendant has consulted with Assistant U.S. Attorney David

Pritchard and he has no objection to this request.

        WHEREFORE, PREMISES CONSIDERED. Defendant, Desmond Mills, prays for a

continuance of his sentencing hearing for the reasons set out herein above.

                                                          Respectfully submitted,
                                                          BALLIN, BALLIN & FISHMAN, P.C.

                                                          /s/Blake D. Ballin, Esq.
                                                          200 Jefferson Avenue, Suite 1250
                                                          Memphis, TN 38103

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                                                      (901) 525-6278
                                                      Attorney for Defendant

                            CERTIFICATE OF CONSULTATION

       I, Blake D. Ballin, hereby certify that I have consulted with David Pritchard regarding
this matter and the government has no objection to this request.

                                                      /s/Blake D. Ballin, Esq.

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served upon all
interested parties via ECF email system this the 9th day of June, 2025.

                                                      /s/Blake D. Ballin, Esq.




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